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UN|TED STATES DISTR|CT COURT \
wEsTERN DlsTRicT oF TENNEssEE F'\£D BV &L“Q‘-’°~°'
MEMPH|S DlV|SlON
05 JUL -6 PH li= 142
UN|TED STATES OF AMEF{|CA

m M. (HI.D

CARLOS RAUL CORTEZ

Marc A. Fulkert CJA
Defense Attorney

P.O. Box 165017, 625 John H.
McConne|l B|vd, Suite 600
Columbus, Ohio 43215

 

 

JUDGMENT |N A CR|M|NAL CASE

AFI'ER RE-SENTENC|NG
(For Offenses Committed On or Atter November 1, 1987)

The defendant pleaded guilty to Count 1 of the indictment on Apri| 22, 2003. According|y,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section MM Offense Number(s)
Concluded
8 U.S.C § 1326(a) Fie-entry of deported alien 10/11/2002 1
8 u.s.c § 1326(b)(2)

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Fiestitution Act of 1996.

lT |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of Fie-lmposition of Sentence:
Defendant’s Date of Birth: 08/21/1960 - June 30, 2005
Deft’s U.S. Marsha| No.: 18634-076

Defendant’s Fiesidence Address: _
24405 Katrina Avenue / /rlq’§=_`
Moreno Va||ey, CA 92551
SAMUEL l-i. N|AYS, JR.
UN|TED STATES DlSTFi|CT JUDGE

5'

This document entered on the docket sheet in co#i"p|i¥arrcq_'_~’ 2005
with i-`iu|e 55 and/or 32(b) FRCrP on 2 '/‘Q 1 §

 

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case No: 02-20406¢01-Ma

Defendant Name: Carlos Fiaul Cortez Page 2 of 4

lMPRlSONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of forty-six (46) months.

The defendant is remanded to the custody of the United States Marshai.

RETURN

i have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES N|AFiSHAL
By:

 

Deputy U.S. Marshai

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Case No: 02-20406-01-Ma
Defendant Narne: Carlos Ftaul Cortez Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of two (2) years

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921_

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, usel

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Defendant Nama: Carlos Ftaul Cortez Page 4 of 4

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

12, As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

13. lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release
that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal |Vlonetary Pena|ties sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall not illegally re-enter the United States.

2. The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

CR|M|NAL MONETAF{Y PENALT|ES

The defendant shall pay the following total criminal monetary penalties in accordance with
the schedule of payments set forth in the Schedule of Payments The defendant shall pay interest
on any fine or restitution of more than $2,500, unless the fine or restitution is paid in full before the
fifteenth day after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
options in the Schedule of Payments may be subject to penalties for default and delinquency
pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Restitution
$100.00

The Specia| Assessment shall be due immediately

FINE
No fine imposed

REST|TUT|ON

No Fiestitution was ordered.

 

ES ISTRIC COURT - WETERN DISRTIC oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 72 in
case 2:02-CR-20406 Was distributed by faX, mail, or direct printing on
July ]2, 2005 to the parties listed.

 

Linda N. Harris

U.S. ATTORNEY'S OFFICE
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JONES DAY LAW OFFICE
P.O. Box 165017

625 John H. McConnell Blvd.

Ste 600
Columbus, OH 43215--267

Honorable Samuel Mays
US DISTRICT COURT

